          Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 1 of 33



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - x
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :
         - v. -                                                :            19 Cr. 64 (GHW)
                                                               :
NATALIE MAYFLOWER SOURS EDWARDS, :
   a/k/a “Natalie Sours,”                                      :
   a/k/a “Natalie May Edwards,”                                :
   a/k/a “May Edwards,”                                        :
                                                               :
                                    Defendant.                 :
                                                               :
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - x




                   THE GOVERNMENT’S SENTENCING MEMORANDUM




                                                              AUDREY STRAUSS
                                                              Acting United States Attorney
                                                              Southern District of New York



Kimberly J. Ravener
Daniel C. Richenthal
Assistant United States Attorneys
- Of Counsel -
           Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 2 of 33




                                                 TABLE OF CONTENTS

PRELIMINARY STATEMENT .............................................................................................. 1

BACKGROUND..................................................................................................................... 2

   I. The Offense...................................................................................................................... 2

      A. The Defendant, FinCEN, and an Overview of Her Offense............................................ 2

      B. The Defendant’s Initial Communications with Reporter-1 and Her Unsubstantiated
         Complaints Concerning FinCEN .................................................................................. 4

      C. The Defendant’s Unrelated Sharing of SARs with Reporter-1 ........................................ 6

      D. The Defendant’s Running of Searches for Reporter-1 ...................................................10

   II. The Interview With Law Enforcement ............................................................................10

   III. The Searches.................................................................................................................11

   IV. The Charges And The Guilty P lea..................................................................................12

   V. Post-Plea Events ............................................................................................................12

THE PRESENTENCE REPORT.............................................................................................14

ARGUMENT .........................................................................................................................15

   I. A Meaningful Term of Imprisonment is Warranted ...........................................................15

      A. The Nature and Circumstances of the Offense..............................................................15

      B. The Seriousness of the Offense ....................................................................................24

      C. The History and Characteristics of the Defendant ........................................................26

      D. The Need for General Deterrence and to Promote Respect for the Law ........................28

   II. The Defendant’s Arguments Are Unpersuasive................................................................29

CONCLUSION ......................................................................................................................31
          Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 3 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - x
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :
         - v. -                                                :     19 Cr. 64 (GHW)
                                                               :
NATALIE MAYFLOWER SOURS EDWARDS, :
   a/k/a “Natalie Sours,”                                      :
   a/k/a “Natalie May Edwards,”                       :
   a/k/a “May Edwards,”                                        :
                                                               :
                                    Defendant.                 :
                                                               :
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - x

                   THE GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant Natalie Mayflower Sours Edwards, a/k/a “Natalie Sours,” a/k/a “Natalie May

Edwards,” a/k/a “May Edwards,” is scheduled to be sentenced on November 9, 2020, at

10:00 a.m. The Government respectfully submits this memorandum in connection with

sentencing and in response to the defendant’s memorandum (Dkt. No. 81) (“Def. Mem.”).

                                     PRELIMINARY STATEMENT

        For more than a year, the defendant, a senior official at the Financial Crimes Enforcement

Network, abused her position, unlawfully providing to a reporter thousands of Suspicious

Activity Reports (“SARs”) and other materials containing sensitive personal and financial

information of numerous individuals. She did so not because it was, in her misguided view, in

the public interest to disclose such materials—but because she believed it was in her own

interest. Nothing about her disclosing of SARs was akin to “bl[owing] the whistle” (Def. Mem.

2). It was a betrayal of the public, risked hindering both ongoing and future investigations, and

was a deliberate, serious, and repeated crime. It demands serious punishment.
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 4 of 33



       To serve the legitimate purposes of sentencing, including promotion of respect for the

law and general deterrence, the Government requests that the Court impose a meaningful term of

imprisonment, of at least the top of the applicable United States Sentencing Guidelines range of

zero to six months’ imprisonment.

                                         BACKGROUND

I. The Offense

    A. The Defendant, FinCEN, and an Overview of Her Offense

       The defendant, who previously worked for multiple federal government agencies, most

recently served as Senior Advisor to the then-head of the Intelligence Division at the Financial

Crimes Enforcement Network (“FinCEN”), a bureau of the United States Department of the

Treasury. (Presentence Investigation Report (“PSR”) ¶¶ 74-75.) The mission of FinCEN is to

“safeguard the financial system from illicit use and combat money laundering and promote

national security through the collection, analysis, and dissemination of financial intelligence and

strategic use of financial authorities.” (PSR ¶ 8.)

       One of the primary functions of FinCEN is to manage the collection, maintenance, and

analyses of confidential reports, including SARs. (Id.) Under the Bank Secrecy Act of 1970 (the

“BSA”), financial institutions are required to generate SARs to report potentially suspicious

financial transactions and to transmit the SARs securely to FinCEN. FinCEN maintains a database

of SARs that are available to law enforcement, pursuant to regulations and procedures that protect

the confidentiality of the information. The mission of the Intelligence Division, in particular, is to

carry out FinCEN’s responsibility to collect, analyze, and disseminate financial intelligence,

including by identifying trends and disseminating reports to law enforcement. FinCEN also issues

public reports, based on its analysis of BSA-protected and other data. See, e.g., Advisory on

Cybercrime and Cyber-Enabled Crime Exploiting the Coronavirus Disease 2019 (COVID-19)

                                                  2
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 5 of 33



Pandemic (July 30, 2020), available at https://www.fincen.gov/sites/default/files/advisory/20 20-

07-30/FinCEN%20Advisory%20Covid%20Cybercrime%20508%20FINAL.pdf.

       Under the BSA and its implementing regulations, unauthorized disclosure of the existence

of a SAR or its contents is unlawful. (PSR ¶ 8.) This is so for good reason: because SARs not

only contain highly sensitive and personal financial information, but also because law enforcement

cannot act to detect, investigate, and prosecute crimes if the persons committing them are aware

that a financial institution has informed the Government of their alleged conduct. Moreover, if

individuals know with precision what triggers the filing of a SAR by a given financial institution,

they might alter their conduct, thereby making it more difficult to detect. As FinCEN explains in

an enclosed statement:

               The public policy underlying SAR confidentiality serves critical
               regulatory, law enforcement, and privacy objectives. Notifying the
               subject of a SAR of its existence or content can impede an
               investigation leading to the destruction of evidence, the chilling of
               potential witnesses, expose the reporting financial institution and its
               personnel to harm, and encourage SAR subjects to divert funds and
               continue potentially unlawful activity, among other things. In
               addition, rigorous nondisclosure requirements protect individua l
               and corporate privacy and due process interests. A SAR is not a
               report of confirmed illegal activity; rather, it identifies suspicious
               activity based upon a financial institution’s reasonable assessment
               of available information. The subject of a SAR may have a
               legitimate basis for the identified conduct, and therefore, should be
               protected against unauthorized exposure that could damage an
               innocent person’s reputation.

(Ex. A, at 3); see also Government Accountability Office, Anti-Money Laundering: Opportunities

Exist to Increase Law Enforcement Use of Bank Secrecy Act Reports, and Banks’ Costs to Comply

with the Act Varied (Sept. 22, 2020), at 8 (The BSA “framework is designed to simultaneous ly

prevent criminals from using private individuals, banks, and other financial institutions to launder




                                                 3
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 6 of 33



the proceeds of their crimes and to detect those criminals who have successfully used the system

to launder those proceeds.”); available at https://www.gao.gov/assets/710/709547.pdf.

       The defendant knew all of this. She was as a senior official at FinCEN, an experienced

federal employee, and someone with both top secret security clearance and ongoing training.

Indeed, these principles regarding the need for confidentiality of SARs are publicly-kn own,

emphasized to FinCEN’s employees, and critical to FinCEN’s operations and maintaining the

public trust. See Law Enforcement Overview, FinCEN, https://www.fincen.gov/resources/law-

enforcement-overview (“Safeguarding the privacy of the data it collects is an overriding

responsibility of the agency and its employees—a responsibility that strongly imprints all of its

data management functions, and indeed, all that the agency does.”) (last visited Oct. 26, 2020).

But starting in summer 2017, the defendant began to abuse her access to FinCEN’s confidential

systems and her trusted position, and did so for more than a year—ultimately sharing with a

reporter more than 2,000 SARs, as well as law enforcement-sensitive reports and analyses, and

searching internal FinCEN databases at the reporter’s request on multiple occasions.

   B. The Defendant’s Initial Communications with Reporter-1 and Her Unsubstantiated
      Complaints Concerning FinCEN

       In or about July 2017, the defendant began communicating with a particular member of the

news media (“Reporter-1”) by email, telephone, and through an encrypted application on the

defendant’s personal cellphone (the “Encrypted Application”).      (PSR ¶ 12.) The defendant

coordinated with Reporter-1 to “[m]ak[e] sure we cover our tracks” by, among other things,

arranging for Reporter-1 to send her a phony message via LinkedIn pretending to cold-contact her




                                                4
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 7 of 33



for a story about purported issues at FinCEN. 1 In reality, the defendant herself had generated the

story and was already in touch with Reporter-1.

       Among other things, the defendant and Reporter-1 discussed the defendant’s claims of

certain perceived improprieties at FinCEN, and the defendant’s desire to have articles written

about these claims and to pursue a lawsuit relating to them. These claims primarily involved (1) an

allegation that FinCEN had improperly revoked certain technical items, called “PKI certificates,”

used by its employees, which allegedly prevented those employees from providing a timely

response to law enforcement requests related to spring 2017 terrorist attacks in London and

Manchester, and (2) legal concerns about a proposal to move several employees from FinCEN to

another bureau within the Treasury Department, called the Office of Intelligence Analysis. (See,

e.g., Def. Mem. 37-45.) Both of these matters were wholly unrelated to the content of any SARs.

The defendant also raised claims of the same alleged misconduct within FinCEN, to Congress, and

to the Office of Special Counsel (“OSC”). 2

       Consistent with established policy and procedures, the defendant’s complaints were

examined, and, as appropriate, investigated.   None was substantiated. On the contrary, as the

defendant now appears to acknowledge (see id. at 45-46, 48), her complaints were thoroughly

examined by the Treasury Office of Inspector General (“OIG”), which concluded in public reports

that no violation of law or other misconduct had occurred. See Audit of the Office of Intelligence

and Analysis’ Management of the Office of Terrorism and Financial Intelligence Employees’



1      The Government will provide the communications excerpted herein, which were
produced in discovery, and are lengthy and contain BSA-protected and other sensitive
information, upon request, under seal.
2      OSC is an independent federal agency, the primary mission of which is to safeguard the
merit-based system of federal civil employment by protecting federal employees and applicants
from prohibited personnel practices, including reprisal for whistleblowing.
                                                  5
           Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 8 of 33



Intelligence Community Public Key Infrastructure Certificates (Oct. 30, 2017), available at

https://www.treasury.gov/about/organizational-

structure/ig/Audit%20Reports%20and%20Testimonies/OIG-18-006.pdf; Audit of the Office of

Intelligence and Analysis’ Authorities and Actions Related to U.S. Persons’ Financial Information

(Apr.       30,     2018),      available     at       https://www.treasury.gov/about/organizationa l-

structure/ig/Audit%20Reports%20and%20Testimonies/OIG-18-044.pdf. 3

        Similarly, OSC informed the defendant in May 2018, following the issuance of OIG’s

reports:

                  Based on OSC’s review of the record, OIG appears to have reviewed
                  and/or investigated all of your disclosures. We understand that you
                  allege that OIG’s work has been incomplete and dishonest, but OSC
                  does not have evidence to support your allegations.

(Def. Ex. HHH, at 3.) OSC also concluded that the defendant had not established a “case for

whistleblower retaliation.” (Id. at 4.) In any event, whatever their merits, the defendant’s claims

of whistleblowing on alleged misconduct at FinCEN had nothing to with SARs. (See id. at 1-6.)

    C. The Defendant’s Unrelated Sharing of SARs with Reporter-1

        Dissatisfied with the treatment of her complaints, and seeking to be promoted or to get a

financial settlement, the defendant began to illegally make unauthorized disclosures of SARs and

other materials, filled with details on the private financial dealings of myriad companies and

individuals—and having nothing do with the defendant’s complaints about alleged misconduct at

FinCEN—to Reporter-1. This conduct commenced prior to the issuance of OIG’s reports, and

continued after they were issued.




3      The defendant provides an incorrect link in her submission to the first of these reports.
(See Def. Mem. 45.)


                                                   6
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 9 of 33



        On at least 12 occasions between on or about October 29, 2017 and October 15, 2018,

Reporter-1 published articles featuring some of these SARs. These publications (collectively, the

“SARs Disclosures”) related to investigations being conducted by Special Counsel Robert S.

Mueller III, the United States Attorney’s Office for the Southern District of New York, and/or the

National Security Division of the Department of Justice, involving alleged financial transactions

of Paul Manafort, Richard W. Gates, Russian diplomatic accounts, and other matters associated

with the 2016 federal election. (See Complaint 19 Mag. 8861 (“Compl.”) (Dkt. No. 1) ¶ 10; PSR

¶¶ 9-10.) 4

        There can be no dispute that the defendant disclosed these SARs to Reporter-1 knowing

both that the information related to ongoing investigations and other sensitive matters, and that

Reporter-1 intended to publish the information. To choose only a few examples:

              •   As early as on or about August 19, 2017, approximately one month after meeting
                  Reporter-1, the defendant started providing sensitive information to Reporter-1,
                  Reporter-1 asked: “Hey. I have to ask you a question non related to anything [that
                  is, not related to her whistleblower claims]. Does [a specific bank] mean anything
                  to you?” The defendant responded in part, “we found networks associated w
                  Hezbollah,” and discussed confidential intergovernmental requests made to partner
                  nations with Reporter-1. 5 Shortly thereafter, Reporter-1 made clear this question
                  was linked to a potential news article, sending a draft to the defendant.

              •   On or about January 12, 2018, Reporter-1 told the defendant, “I am trying to write
                  up my story on these Russia SARs and the banks and it’s painstaking.” Several
                  days later, on or about January 14, 2018, the defendant advised, “What you need
                  to find out or determine is whether Treasury sent any records to FBI regarding
                  election and what are the 2500 records already turned over either to [the Senate
                  Select Committee on Intelligence] or Finance/Judiciary. . . . Key question is what
                  are the SARs on [specific individual].”




4       As described below, see supra p.13, other articles were published subsequently.
5      The United States and other countries have designated Hezbollah a terrorist organization.
The defendant nevertheless expressed no hesitation in providing non-public information about it
to Reporter-1.
                                                   7
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 10 of 33




           •   On or about January 25, 2018, Reporter-1 referenced a prior article Reporter-1
               had published using SARs obtained from the defendant on Paul Manafort, who
               was then-presumed innocent and indicted in an ongoing federal prosecution,
               sending the defendant a link to the published article. Reporter-1 then asked the
               defendant, “Can additional files from the list be sent so I can push the story
               forward a bit more? . . . . I realize this is a big ask. No worries if too much. But I
               wanted to ask. The story needs to be that explosive to make the right amount of
               noise.” The defendant responded by sending files with the requested SAR
               information to Reporter-1. On or about February 20, 2018, Reporter-1 sent the
               defendant a draft of an article featuring the SAR information, which she read and
               consulted on in advance of publication.
       Nor did the defendant stop providing SARs and other protected information to Reporter-1

after articles were published about the defendant’s claims of alleged misconduct at FinCEN,

those claims were investigated, and they were found to be without merit. To choose only a

couple of examples:

           •   On or about July 24, 2018, Reporter-1 told the defendant, “I’m writing a story on
               [Maria] Butina, [two other individuals] and [an entity]. This will really piss off
               the senate because it’s based on shit they could have had.” Two days later,
               Reporter-1 claimed to have files from another source that Reporter-1 could not
               open relating to these same people and entity. The defendant then offered to get
               the records for Reporter-1, stating in part, “Hummm let me see if I can search and
               find the folder,” and promised to send the files the next day, stating, “will not
               forget about [the] files. Sorry if you asked me in the past for them . . . .” (See
               PSR at 23.) Butina had been arrested just nine days earlier and her criminal case
               was then ongoing.

           •   On or about August 3, 2018, the defendant compiled a list of the titles and internet
               links for a number of the articles published based upon the SARs she unlawfully
               disclosed, confirming her knowledge that Reporter-1 was publishing the contents
               of the SARs. (PSR ¶ 16.) She emailed this list to Reporter-1, asking Reporter-1
               to add any other similar articles. (Id.; Compl. ¶ 26(a).) Records from the
               defendant’s personal email account also revealed numerous internet searches for
               the published articles and evidence that she had visited the news organization
               website where the articles were published. (PSR ¶ 17.)
       Aware that she was illegally        disclosing information     that could impact ongoing

investigations, starting early on, and continuing, the defendant took steps to conceal what she was



                                                  8
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 11 of 33



doing, including through use of the Encrypted Application, ensuring that messages she sent could

not be intercepted.

       The defendant also took steps to hide her connection to the SARs she was disclosing, by

collecting them without directly accessing the primary FinCEN database and then transmitting

files overtly to Reporter-1. Instead, between in or about October 2017—the month when the SARs

Disclosures began to be published—and January 2018, the defendant saved more than 24,000

internal FinCEN files, including all of the SARs in the SARs Disclosures, thousands more SARs,

and other highly sensitive material relating to Russia, Iran, and the terrorist group known as the

Islamic State of Iraq and the Levant (more commonly known as “ISIL” or “ISIS”), to a flash drive.

(Compl. ¶¶ 12(b), 14(b); PSR ¶ 11.) She saved the majority of the files to a folder she labeled

“Debacle – Operation-CF,” and subfolders bearing names such as “Debacle\Emails\Asshat.”

(Compl. ¶ 14(b); PSR at 22.) There was no official FinCEN project or task bearing these titles or

names, and no legitimate purpose for the defendant to collect and save these files to the flash drive,

much less to do so and then remove the files from FinCEN’s office, where they were protected

from being made public, intentionally or inadvertently. (Compl. ¶¶ 14-15; PSR ¶ 11.) Forensic

data indicates that she first began saving SARs to the flash drive by at least on or about October

18, 2017, approximately 11 days prior to the publication of the first SAR Disclosures article. She

then transmitted them to Reporter-1 using the Encrypted Application. In total, the defendant sent

approximately 50,000 documents, including more than 2,000 SARs, to Reporter-1.

       As the sheer quantity of the disclosures shows, the defendant did not limit the information

she shared with Reporter-1 to certain discrete “issues” (Def. Mem. 47). Nor did the defendant

only share with Reporter-1 what the defendant purportedly thought the public should know with

respect to such issues. (Contra id. (claiming she merely acted to seek “to get the proper attention



                                                  9
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 12 of 33



for the issues she believed were of vital importance to national security.”).) Rather, she unlawfully

disclosed thousands of SARs, and other documents, on a vast range of topics and persons.

   D. The Defendant’s Running of Searches for Reporter-1

       In addition to providing Reporter-1 with SARs, the defendant also repeatedly ran searches

within FinCEN’s internal systems at Reporter-1’s request, gathering information Reporter-1

wanted, and provided Reporter-1 with the results. For example, on or about December 17, 2017,

Reporter-1 asked the defendant, “Hey do you have any insight or details about this you can share?”

and provided her with a link to a news article describing an ongoing investigation into potential

terrorism funding. The defendant responded with BSA-protected information, writing in part, “4

SARs [at a specific] Bank in [a specific place].” She expressed no hesitation, notwithstanding that

the article said the investigation was ongoing, and the subject was terrorist financing and not one

about which she had expressed concern in her various complaints.

       This was not an isolated event. (See PSR ¶ 15.) Rather, as described above, none of the

contents of any SAR or analysis thereof unlawfully disclosed by the defendant concerned alleged

misconduct at FinCEN (or at any other government agency). (PSR at 23, 25.)

II. The Interview With Law Enforcement

       On October 16, 2018, federal law enforcement agents approached and interviewed the

defendant. (PSR ¶ 20.) She initially falsely denied having contact with any member of the news

media. (Id.) Instead, she attempted to deflect the investigation away from herself by stating that

two other FinCEN employees were in contact with the news media. (Compl. ¶ 22.)

       Upon direct questioning regarding Reporter-1, the defendant changed her story and

admitted that, on numerous occasions, she accessed SARs, photographed them, and sent those

photographs to Reporter-1 using the Encrypted Application.         (PSR ¶ 20.) During the same

interview, the defendant claimed that although she did this, she was a “whistleblower” who merely

                                                 10
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 13 of 33



provided the SARs to Reporter-1 for “record keeping.” (Id.) That was false. The defendant

similarly claimed not to have read the articles published by Reporter-1, and to have no knowledge

that the SAR information she disclosed to Reporter-1 was in fact published. That too was false.

       As noted above, these claims were expressly refuted by the defendant’s own internet search

history—and her own contemporaneous words to Reporter-1. (Compl. ¶¶ 22, 26.) The defendant

was placed under arrest following the interview.

III. The Searches

       In conjunction with the interview of the defendant, multiple premises and electronic

searches were conducted pursuant to judicially-authorized warrants. The search of her personal

cellphone revealed hundreds of messages between her and Reporter-1 exchanged using the

Encrypted Application.    (PSR ¶ 12.) These messages included the direct transmission by the

defendant of more than 2,000 SARs to Reporter-1, as well as numerous other sensitive analyses

taken from FinCEN, such as reports on criminal trends or particular persons charged with or

suspected of committing crimes. (PSR ¶ 14.) A search of the defendant’s person resulted in the

seizure of the flash drive containing thousands of SARs. (Compl.¶ 23; PSR ¶ 11; PSR at 22.)

       A search of her home revealed that she also improperly stored sensitive government

information in her home, including internal FinCEN communications.          (PSR ¶ 18.) On one

occasion, she wrote to Reporter-1 about this conduct, stating that her young daughter found this

material and astutely asked, “mom is this suppose[d] to be here in the house[?]” (Id.) The

defendant recounted that when she told her daughter that the material was intentionally kept there,

her own daughter responded in part, “great . . . . We have govt secrets in a big box in the middle

of o[u]r floor.” (Id.)

       The defendant also shared at least some of the same sensitive information improperly

stored in her home with Reporter-1. (PSR ¶ 18; PSR at 24.) In or about 2016, officials at the

                                                11
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 14 of 33



Treasury Department informed the defendant that a particular electronic document she circulated

within FinCEN was believed to contain classified information and was accordingly removed from

Treasury’s non-classified electronic system. (PSR at 24.) The defendant’s security clearance was

temporarily suspended as a result of this incident and another similar incident (facts she omits in

her submission, suggesting that there was no legitimate basis for the suspension (see Def. Mem.

40)).   Subsequently, the defendant took a hard copy of that same document home without

authorization. (PSR at 24.) Then, in or about late July 2017, the defendant sent the relevant portion

of that document to Reporter-1 via the Encrypted Application.         (Id.) When transmitting the

document to Reporter-1, the defendant told Reporter-1 that Treasury had previously told the

defendant that the document was classified. (Id.)

IV. The Charges And The Guilty Plea

        Following her interview and the searches executed on October 16, 2018, the defendant was

charged in Complaint 18 Mag. 8861 with unlawfully disclosing SARs, and conspiracy to do the

same, in violation of 31 U.S.C. § 5322(a), 31 C.F.R § 1020.320(e)(2), 18 U.S.C. §§ 371 and 2. On

January 30, 2019, she waived indictment and was arraigned on a two-count information, charging

the same offenses. (PSR ¶ 1.) She entered a guilty plea to Count One of the Information on or

about January 13, 2020, pursuant to a written plea agreement. (PSR ¶ 4.)

V. Post-Plea Events

        Since the defendant’s guilty plea and during the pendency of sentencing in this case, the

impact of her unlawful SAR disclosures has grown.          Reporter-1 shared thousands of SARs

unlawfully disclosed by the defendant with publications around the world, and recently published




                                                 12
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 15 of 33



an analysis and descriptions of the trove as “The FinCEN Files.” 6 Reporter-1 has promoted the

trove through a podcast series, which publicly described the materials supplied as “a vast x-ray of

the entire international banking system” “sent to [Reporter-1 and a colleague] for some reason”

that they did not understand. Suspicious Activity: Inside the FinCEN Files Podcast, Episode 1,

24:28-24:45, 24:56-25:20, available at https://podcasts.apple.com/us/podcast/suspicious-activ ity-

inside-the-fincen-files/id1531918384.

       Meanwhile, the defendant has used a Twitter account (@WhyRUanId10t), registered to

her personal email address but publicly appearing in the name “Isabella,” to attempt to generate

support for herself and to draw attention to her disclosures. Beginning on or about September 20,

2020, the day the “FinCEN Files” were published, the defendant used this account repeatedly to

re-tweet articles broadcasting the illegally disclosed information.   She also repeatedly used the

same account to re-tweet information about her own case, claiming, among other things, that she

is a “whistleblower” unfairly suffering criminal consequences, and attempting to popularize a

hashtag in support of herself (“#treasurenat”) while speaking of herself in the third-person. As

recently as on or about September 4, 2020, she re-tweeted a statement, using her “Isabella”

account, that read, in part, “Natalie Mayflower Sours Edwards was framed.” (See Ex. B.) That is,

of course, nonsense.    She admitted her guilt under oath, and the evidence of her guilt is

overwhelming.

       The defendant’s disregard for the BSA and the personal information of uncharged

individuals also continued. Despite her guilty plea, the defendant claimed in an administrative



6       The Government does not expect the defendant to dispute her responsibility for the
unlawful disclosures underlying The FinCEN Files, nor could she reasonably do so. The data
disclosed in the The FinCEN Files matches unlawful disclosures of more than 1,000 SARs made
by the defendant to Reporter-1, largely on or about September 1, 2018, as discussed infra, and
the entirety of the published trove predates her arrest.
                                                13
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 16 of 33



proceeding that she was suspended from FinCEN in retaliation for purported whistleblowing, when

she was in fact suspended after she was charged criminally in this case. In that administrative

proceeding, in which she proceeded pro se, on or about June 2, 2020, she filed BSA-protected

information with detailed data on the financial transactions of others. An emergency motion to

seal this material then had to be filed, which the administrative law judge promptly granted. (PSR

¶ 26; see also Ex. C (published at Edwards v. Dep’t of the Treasury, M.S.P.B. No. DC-1221-20-

0480-W-1, 2020 WL 4048396 (July 17, 2020)), at 3, 7.)

                                THE PRESENTENCE REPORT

       Consistent with the plea agreement, the presentence report reflects a total offense level of

6, and that the defendant is in criminal history category I. (PSR ¶¶ 36, 39.) The advisory United

States Sentencing Guidelines (“Guidelines”) range is therefore zero to six months’ imprisonment.

(PSR ¶ 86.)

       The Probation Office recommends a sentence of two years’ probation, effectively the

bottom of the Guidelines range, because the defendant is a first-time, non-violent offender, and

has certain health or mental conditions. (See PSR at 29.) The Government strongly disagrees with

that recommendation.

       As an initial matter, the applicable advisory Guidelines range does not account for the

pertinent factors in this case. Rather, the offense of conviction has no Guideline unique to it, and

thus none that accounts for the nature, circumstances, and scope of the offense. Indeed, the range

would be the same regardless of whether the defendant shared one SAR, or one hundred SARs, or,

as she did, thousands of SARs. It also would be the same regardless of whether she shared SARs

once, or over a short period, or, as she did, repeatedly over approximately a year. It would similarly

be the same regardless of whether she was a low-level or inexperienced employee, or whether, as

was the case, she had a PhD, had worked for multiple agencies in the federal government, and was
                                                 14
          Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 17 of 33



a senior official. The Guidelines range thus merits less weight than it does in many cases because

it fails to account for the pertinent factors relevant to determining an appropriate sentence.

          Consideration of the factors set forth in 18 U.S.C. § 3553(a)(1)-(2) should play the

principal role at sentencing. As set forth below, those weigh strongly in favor of a meaningful

term of imprisonment.

                                           ARGUMENT

I.        A Meaningful Term of Imprisonment is Warranted

     A.    The Nature and Circumstances of the Offense

           The magnitude of the defendant’s unlawful disclosures is unparalleled in FinCEN’s

history. She disclosed approximately 50,000 FinCEN records, containing at least 2,000 individua l

SARs, along with highly sensitive reports and analyses, including with respect to pending matters.

As noted above, and is not disputed, many of these materials related to ongoing investigations of

significance, such as those involving Paul Manafort, Richard W. Gates, Russian diplomatic

accounts, and other matters associated with the 2016 federal election, as well as financing of

Hezbollah and other foreign terrorist organizations, and the activities of countless other persons

under potential or actual investigation. In addition, numerous materials released by the defendant

exposed the private financial dealings of uncharged persons merely suspected of potential

wrongdoing, who are presumed innocent unless charged and proven guilty, and whose personal

information is entitled to respect and confidentiality.

          In her submission, the defendant repeatedly makes sweeping, generalized claims that she

was a “whistleblower,” and broadly asserts that she has been prosecuted for revealing “[p]olicies

and practices [that were] were putting American lives at risk.” (Def. Mem. 52.) That is both

inflammatory and false.



                                                  15
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 18 of 33



         As discussed above, the defendant’s claims of alleged misconduct at FinCEN were

thoroughly vetted, considered, and refuted. In any event, that she may have been believed

incorrectly, at one time, that FinCEN engaged in wrongdoing does not explain, much less excuse,

her own engagement in wrongdoing.        The defendant was well aware that there were channels

available within the federal government to raise claims of alleged government misconduct, and

she in fact availed herself of those channels, contacting OIG, OSC, and Congress. But in addition

to availing herself of these channels, the defendant disclosed thousands of disparate SARs,

implicating myriad people, entities, and investigations, the contents of which had no relationship

whatsoever to her claims of government misconduct.

         In her submission, the defendant does not dispute that she did this, but suggests it can be

understood because in addition to her claims of alleged wrongdoing within FinCEN, she also

believed that FinCEN had improperly failed to provide to Congress certain SARs that it had

requested, and thus she disclosed them to Reporter-1. (See Def. Mem. 49-50.) That does not make

sense.

         As an initial matter, even if the defendant sincerely held the view that FinCEN was

improperly withholding SARs on certain subjects from Congress, it does not explain why she

provided SARs about a variety of private parties, having nothing to do with those subjects, to

Reporter-1. Likewise, this view does not explain why she provided SARs to Reporter-1 so

Reporter-1 could publish the contents of those SARs. The defendant did not transmit the SARs

for which she stands to be sentenced to Congress; she transmitted them to Reporter-1, with the

knowledge and understanding that Reporter-1 was publishing the information. (See Def. Mem. 51

(acknowledging the defendant “disclosed SARs of her own volition. [Reporter-1] did not force




                                                 16
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 19 of 33



her or trick her. [Reporter-1] used the material to publish articles. She read the articles and

provided more SARs.”).)

        Moreover, it appears that the defendant attempted to manufacture a basis to say that

FinCEN withheld information from Congress, as she now asserts in an attempt to excuse her

criminal conduct. For example, on or about October 28, 2017, she wrote to Reporter-1, “We can

roll w a ‘conspiracy theory’ but make sound factual to get the Hill to write more letters to FinCEN

requesting info . . . depends on how ya want to spin it . . . ya want to put info out on Manafort and

lead it as it is . . . smoke and mirrors and then say why . . . .”

        Similarly, in another exchange, on or about January 18, 2018, the defendant told Reporter-

1, in part, “I cannot dig without a justification. I did the other [request from Reporter-1] bc it was

in the Congressional letter ... I havnt seen a letter w this name ???” In short, the defendant knew

that she was not permitted to search FinCEN’s records (“dig”) for Reporter-1, and was able to do

so undetected previously by cloaking those searches as part of purportedly complying with a

Congressional request—just as she now appears to claim she was doing—and needed another way

to “justif[y]” her actions.

        In any event, the defendant was herself directly able to contact and meet with congressional

staff members multiple times, as she acknowledges, to air her claims. (Def. Mem. 2-3, 38-39, 41,

51; see also Def. Ex. DDD; Def. Ex. H at 3 n.3.) She did not need to use Reporter-1 as some kind

of secret intermediary. But even if she did, that still does not explain her conduct. Not a single

one of the defendant’s claims of alleged wrongdoing by FinCEN involved the detailed personal

information contained in a SAR, but that is precisely what she illegally and repeatedly shared with

Reporter-1, and while knowing that Reporter-1 was going to publish the contents. These are the




                                                   17
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 20 of 33



actions for which she stands to be sentenced, not “uncovering” what she blithely and baselessly

calls “corruption in the Treasury Department” (Def. Mem. 51).

       Indeed, the defendant’s repeated reference to herself as a “whistleblower,” a word she uses

throughout her submission, is misleading, at best. This past summer, in the proceeding in which

the defendant contested her suspension from her position at FinCEN (from which she subsequently

resigned), the administrative law judge considered the defendant’s claims and found that she

“failed to make a non-frivolous allegation that she engaged in whistleblowing activity.” (Ex. C,

at 8; see also Def. Ex. HHH, at 4.) In any event, providing SARs and other materials to a reporter

that have nothing do the subjects on which one is attempting to “bl[ow] the whistle” (Def. Mem.

2) is not whistleblowing. Nor could the defendant, an experienced and well-educated individua l,

have possibly thought that providing SARs to a reporter somehow was in service of protecting the

“privacy of the American people” (id. at 52). The opposite is true.

       At bottom, what the defendant did, and why she did it, is far more disturbing than the

picture she gives in her submission. And the most powerful proof of her state of mind is her own,

contemporaneous words, sent over the Encrypted Application.

       For example, on or about March 24, 2018, after Reporter-1 had published multiple articles

reflecting SAR information disclosed by the defendant, the defendant complained that “[t]hey [a

media outlet] keep talking about the fbi whistleblower [a different person] and I’m getting sick of

my stuff not coming out. . . . Thx [first name of Reporter-1] but it’s crazy you have to lobby on

behalf of a government employee who has evidence of crimes being committed and had linked all

the pieces I have with evidence tied to the former administration.”   (Emphasis added.)

       Contrary to what she told Reporter-1, none of the SARs, or any other information that the

defendant removed from FinCEN without authorization, related to alleged misconduct by “the



                                                18
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 21 of 33



former administration.” It appears that the defendant said this to seek to interest Reporter-1, and

as part of an effort to seek to advance the defendant’s own political agenda, which included

disrupting or distracting from the investigation of Special Counsel Robert S. Mueller III, who she

said, in a conversation with Reporter-1 in February 2018, “needs to go down too.” Of course, none

of the SARs called into question the basis or propriety of the Special Counsel’s investigation either,

although leaking certain of the SARs might reasonably have been expected to negatively impact

it. And that was precisely what it appears the defendant hoped would happen.

       The defendant’s contemporaneous statements also make clear that she understood she did

not have an ongoing relationship with Congress that involved her sharing sensitive information

with Reporter-1 as a secret conduit. For example, on or about July 24, 2018, nearly a year into the

defendant’s illegal and repeated SAR disclosures, the defendant complained to Reporter-1,

“Congress shouldn’t have sat on their ass and not respond[ed] to me.” Approximately one month

later, on or about August 31, 2018, in the course of a conversation in which Reporter-1 stated that

Reporter-1 would be speaking with congressional staff, the defendant told Reporter-1, “Oh and

while we are on the wish list . . . I want to be Deputy Director of FinCEN so tell the powerful

people to make that happen because I can run that operational bureau better than any of those

assterds and I have the qualifications to do it. Yeah let me dream about that . . . .” A few weeks

later, on or about September 20, 2018, the defendant again made clear that she was looking for a

personal benefit, not merely serving Congress, stating:

               Yes, until Congress deleivers [sic] me something I’m inclined not to
               share anymore shit. I have yet to see anything concrete or they
               actually do anything for me other than meet. . . . It’s just been a long
               two years with no tangible benefit to me. If Congress so calls has
               Kens ear [the Director of FinCEN] then they could tell him to
               promote me next week or do something tangible, but they
               hav[e]n[’]t delivered and the mtg I had with [a congressional staffer]
               appeared as if they cannot deliver.


                                                 19
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 22 of 33




These are not the words of someone who cared only about the “American people” (Def. Mem. 52)

and “the country’s well-being” (id. at 53).

         Nor are these isolated words. Rather, it appears that defendant was motivated from the

inception, at least in material part, by her pursuit of a personal benefit and her interest in harming

FinCEN. The defendant began communicating with Reporter-1 via the Encrypted Application on

or about July 22, 2017. As the conversation continued over the next few days, the defendant

expressed a desire to burn down FinCEN’s proverbial house (“I burned the town and crops cleared

out all the livestock and now I’m ready to catch the water on fire. Nothing left but ash!”), said she

hoped to receive financial compensation for the purported “turmoil” and “retaliation” she claimed

to have experienced at FinCEN, and wanted to have her perceived opponents prosecuted (“I want

them all to go down and to jail”). On or about September 9, 2017, the defendant similarly stated,

“[w]e want momma name on court settlement papers not on the front page of any news outlet . . .

lol .”

         Also telling is how the defendant reacted when a different federal employee leaked SARs.

During the period of the defendant’s criminal conduct, another government employee, at a

different agency, also illegally disclosed SARs, namely those relating to Michael Cohen, to a third-

party, lawyer Michael Avenatti, and admitted this conduct in an interview with The New Yorker.

See Missing Files Motivated the Leak of Michael Cohen's Financial Records, The New Yorker

(May 16, 2018),        available at https://www.newyorker.com/news/news-desk/missing-files-

motivated-the-leak-of-michael-cohens-financial-records; Internal Revenue Service Analyst Pleads

Guilty To Making Unauthorized Disclosure Of Suspicious Activity Reports, Press Release, U.S.

Attorney’s    Office   for   the   Northern    District   of   California   (Aug.   15,   2019),   at




                                                 20
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 23 of 33



https://www.justice.gov/usao-ndca/pr/internal-revenue-service-analyst-pleads-guilty-making-

unauthorized-disclosure; United States v. Fry, 19 Cr. 102 (N.D. Cal. 2019).

       Unlike the defendant here, that defendant publicly, though anonymously, asserted he had

done so because he was concerned that these particular SARs allegedly were being hidden from

or were unknown to criminal investigators, whom he believed needed them to complete their

investigation. When learning of Fry’s then-anonymous statements to The New Yorker on or about

May 18, 2018, the defendant did not draw a parallel to herself; instead, she told Reporter-1, “What

he did was illegal . . . why the fuck would he want to out himself?” She continued, “I swear if he

has a fucking attorney is going for a lawsuit settlement I am going to be pissed the fuck off.”

Moments later, she disclosed more detailed SAR information to Reporter-1, and further disclosed

that it was part of an “active case” at FinCEN.

       Nor was the defendant’s conduct confined to an isolated incident of poor judgment, or to a

short period. On the contrary, the defendant transmitted SARs to Reporter-1 on multiple occasions

over at least a year. She watched as Reporter-1 repeatedly published the SAR information she

unlawfully provided. She expressed a desire to damage FinCEN (“Nothing left but ash!”), for her

perceived opponents to be prosecuted for unspecified purported wrongs (“I want them all to go

down and to jail”), and to hinder lawful investigations by leaking potentially relevant or distracting

material (Special Counsel Mueller “needs to go down too”). She paid no heed to the harm she was

causing, because, it appears, that harm was one of her objectives.

       Indeed, nearly a year deep into her crime, on or about September 1, 2018, the defendant

illegally disclosed approximately 1,500 more SARs to Reporter-1.            This was months after

Reporter-1 had published articles centering on the defendant’s purported whistleblower claims.

And by this time, as noted above, independent audits had been conducted of the defendant’s



                                                  21
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 24 of 33



complaints of wrongdoing within FinCEN, which found no wrongdoing. It is inconceivable that,

at this point, the defendant could have believed that a mammoth disclosure of BSA-protected,

confidential material, which did not describe alleged misconduct at FinCEN, nevertheless served

her professed interest in remedying alleged misconduct at FinCEN.

       To be sure, in the course of the lengthy conversation, the defendant also complained, as

she had previously, about FinCEN’s alleged failure to respond properly to congressional requests.

But the defendant did not attempt to limit what she shared with Reporter-1 only to that which

allegedly had been improperly withheld from Congress—even assuming arguendo, and contrary

to both common sense and the undisputed record, that she somehow believed that she could not

send materials to Congress directly. Nor could a disclosure of this magnitude possibly have been

narrowly targeted to include only information that the defendant thought otherwise should be made

public, despite the law requiring its confidentiality. Indeed, in addition to the numerous SARs, the

defendant also sent Reporter-1 multiple confidential, law enforcement-sensitive reports and

analyses of financial and criminal trends and/or the actions of individuals who had been criminally

charged or were under investigation. One was titled “[last name of charged individual]_i2 Analytic

Report v6 - final version for FBI.doc.” Another was “SAR Subject Country Study Summary by

Suspicious Activity Type.xls.”     A third was “261869_[foreign country]_Report.doc.”           The

defendant omits these disclosures from her submission.        They plainly had nothing do with

purported whistleblowing or a belief that specific materials had been improperly withheld from

Congress.

       Notably, these disclosures occurred only one day after the defendant’s “I want to be Deputy

Director of FinCEN” statement described above, and the 1,500 SARs were shared in batches only




                                                22
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 25 of 33



four minutes after Reporter-1 stated, “Your ‘demands’ will definitely be met I can tell you that

much.” The defendant did not express surprise or confusion at the word “demands.”

       Nor was this the first or the only time when the defendant sent Reporter-1 sensitive law

enforcement reports and analyses. For example:

           •   On or about November 8, 2017, she sent Reporter-1 a memorandum with the title
               “[Certain foreign country] Transactions May Be Linked to [event].”

           •   On or about January 26, 2018, she sent Reporter-1 a targeting report for the FBI
               Chicago Field Office, titled “Money Laundering Network and Illicit Financial
               Activities of [certain foreign national].”

           •   On or about September 2, 2018, the day after she shared the numerous SARs and
               reports discussed above, she sent Reporter-1 a memorandum “to the FBI pertaining
               to Foreign Suspicious Wires to [certain state] Real Estate Company.”

           •   The same day, she sent other reports, including another memorandum for the FBI,
               titled “The [name] Financial Network . . . .”, which concerned organized crime.

           •   Less than two weeks later, on or about September 13, 2018, she sent more reports,
               including one drafted for both internal use and for sharing with a foreign partner of
               FinCEN, concerning transactions in a certain part of the world, and an unclassified
               intelligence assessment containing BSA information titled “Financial Nexus
               between [certain foreign area] Crime Figures and US Residents.”

Again, none of this had anything to do with purported whistleblowing or a belief that specific

materials had been improperly withheld from Congress.

       The vast scope of the unlawful disclosures; the repetition of the crime over the course of a

year; the defendant’s knowledge that the information would be published again and again; the lack

of any conceivable reason to believe that public disclosure would serve the public, coupled with

the partisan hope that, on the contrary, public disclosure might hinder or distract from lawful

investigations; and the defendant’s interest in both damaging a public institution and gaining a

personal benefit, all set this case far apart from United States v. Fry, 19 Cr. 102 (N.D. Cal. 2019),

the prosecution for unlawful SAR disclosures referenced above. In Fry, the defendant engaged in


                                                 23
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 26 of 33



a single act of disclosure regarding a single subject, indisputably motivated by a mistaken belief

that the SARs he disclosed had been wrongfully hidden from law enforcement, and sent the

information to an attorney, whom the defendant did not expect to publicly publish the information.

See Fry, Dkt. No. 47 (Sentencing Tr.). Observing the defendant’s “deep regret” for his error of

judgment, the court imposed a sentence of probation for this singular “aberration” in the

defendant’s otherwise “spotless” record of professional and personal conduct. Id. at 26.

       The nature and circumstances of the offense here bear no resemblance to that in Fry.

Unlike the defendant in Fry, this defendant leaked thousands of SARs and other materials, on

repeated occasions, directly to the news media, on an array of topics ranging from potential foreign

interference in the 2016 federal election to terrorism funding, and has offered no credible

explanation, let alone shown remorse, for her conduct. To the contrary, she took steps to cover up

her conduct, concocted false cover stories, lied to the FBI, and both continued to disclose sensitive

information in another forum (her baseless administrative proceeding) and to engage in deceptive

acts to cast herself as a victim (through her Twitter account in another name). As noted above, she

scoffed at Fry’s sincerity, stating, “I swear if he has a fucking attorney is going for a lawsuit

settlement I am going to be pissed the fuck off.” Those words speak volumes. In short, the

defendant could not believe that someone would disclose SARs, and risk criminal prosecution,

purely out of a desire to serve the public—because that is not what she was doing.

   B. The Seriousness of the Offense

       The defendant’s crime was also incredibly serious. As the court noted in Fry, “the integrity

of [a federal agency] and its enforcement process is compromised and the breach of the public’s

trust [is] severely compromised” by unauthorized disclosures of SARs, particularly when this

crime is committed by a federal employee. Fry, Dkt. No. 47, at 26. The fact that the consequences



                                                 24
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 27 of 33



of the defendant’s actions cannot be readily quantified does not make those consequences less real.

As FinCEN explains:

               When SAR information is mishandled, it erodes public confidence
               in the financial sector’s—and FinCEN’s—ability to safeguard
               private financial information. Moreover, the reporting financial
               institution’s security, and that of its personnel, is jeopardized when
               SAR information is improperly disclosed, producing a chilling
               effect on financial institutions’ willingness to file SARs, and SARs
               that contain sufficiently detailed, and thereby useful, information.

               . . . An average of 30,000 searches of the BSA database are
               conducted each day by approximately 12,000 law enforcement and
               other authorized government agencies nationwide.       Countless
               investigations are originated and informed by the sensitive and
               confidential information included in SARs and other BSA reports.
               Unauthorized disclosures of this protected material undermine
               ongoing law enforcement investigations and can result in the
               destruction of evidence, witness intimidation, and other serious
               consequences.

               . . . FinCEN and financial intelligence units around the world work
               together every day to exchange significant intelligence in support of
               law enforcement efforts. Such international cooperation is anchored
               in trust that each country will handle the information appropriately,
               as well as confidence that the systems used to transmit and store the
               information is secure. Unauthorized disclosures by senior inside
               officials, such as Defendant, undermine FinCEN’s relationships and
               can cause irreparable harm to the United States’ reputation and
               operational partnerships with foreign stakeholders.

(Ex. A, at 3-4; see also id. at 5 (“Defendant’s actions are a breach of trust that is unprecedented in

FinCEN’s 30-year history.”).) Our governmental institutions rely upon holding themselves and

their employees to the highest standards, to gain the public’s trust, and to build lasting domestic

and international partnerships needed to perform their duties.          Misconduct from within the

organization, especially vast misconduct like the defendant’s, shatters those principles and

threatens irreparable harm to the institution and its public mission.




                                                 25
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 28 of 33




   C. The History and Characteristics of the Defendant

       The seriousness of the defendant’s crime, and the need for a meaningful sentence, is only

heightened by the flippancy and hypocrisy with which she continues to regard that crime. The

defendant illegally disclosed thousands of records of private information, belonging to countless

individuals, for public consumption, yet now claims that she did so because she feared “[t]he

privacy of the American people—an almost reverence for which had been imprinted on her during

service in the [Intelligence Community]—was not being respected.” (Def. Mem. 52.) That

hyperbolic claim is untethered from reality.

       It was the defendant who demonstrated no respect for the “privacy of the American

people.” It was the defendant who put at risk countless investigations by revealing the existence

and contents of SARs. It was the defendant who aided potential money launderers, terrorist

financing networks, and other criminal actors by publicly disclosing the sensitive government

analyses meant to assist in the detection and tracking of their conduct. Blinded by her own

apparent sense of self-righteousness, the defendant remains unwilling to acknowledge the gravity

of what she did. It is wholly appropriate that the Court take that into account at sentencing.

       The Court should also take into account that the defendant indisputably knew—and

knows—far better. She is highly educated and holds a master’s degree and a PhD. (PSR ¶ 68.)

She had prior experience working in the federal government. (PSR ¶¶ 75-76.) She rose to a high-

level position within FinCEN, serving as a Senior Advisor to the then-head of the Intelligence

Division, earning more than $160,000 a year, and supervising others. (PSR ¶ 74.) As a senior

official in that division, the defendant was charged with helping to “carr[y] out FinCEN's statutory

responsibility to collect, analyze, and disseminate financial intelligence,” including by working

with “law enforcement, regulators, foreign financial intelligence units, industry, and the public;

produc[ing] proactive, cutting edge, multi-source financial intelligence analysis; [and serving] as

                                                26
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 29 of 33



global experts on illicit finance, providing data-driven tactical and strategic perspectives.”

Intelligence Division, FinCEN, https://www.fincen.gov/intelligence-division (last visited, Oct. 26,

2020).    The defendant abused her knowledge, experience, and role to betray this mission—

repeatedly. (See Ex. A, at 4-5 (“Defendant’s position required an FBI background check, a TS/SCI

security clearance, relevant training, and an oath of office, as she was entrusted with unique and

unfettered access to FinCEN’s repository of financial intelligence. By virtue of her position of

trust, Defendant understood the innermost operations of the United States’ financial intelligence

system, an advantage she ultimately exploited for criminal purposes.”).)

         Moreover, notably absent from the defendant’s letters of support are any from her former

colleagues at FinCEN. Unlike in the Fry case, not a single former colleague has endorsed the

defendant’s character, let alone endeavored to explain, much less defend, her actions. That is

telling. It is also unsurprising, because the evidence shows that the defendant’s tenure at FinCEN,

even apart from her crime, was far from admirable. Throughout the time of the investigation, the

defendant took improper advantage of a generous telework arrangement from FinCEN (one that

predated the COVID-19 pandemic), often not even logging on to FinCEN’s systems when

purportedly teleworking, and appearing at FinCEN offices only three days in a nearly one-month

period in fall 2018. (See PSR ¶ 19.) Indeed, she boasted to Reporter-1 about not working when

she should have been, sending Reporter-1, on or about August 28, 2018, what appeared to be a

photograph of her by a pool during the workday, responding “fuck Em,” when Reporter-1 called

that “[p]laying hooky,” and adding she would be “home tomorrow too.”

         During this same period, while the defendant appears to have been performing few, if any,

of her actual duties, she unlawfully disclosed approximately 1,500 SARs and other sensitive

materials to Reporter-1. Judicially-authorized interceptions and the search of the defendant’s



                                                27
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 30 of 33



home also reveal that, around this same time, in or about October 2018, the defendant was taking

illegal steroids and importing them from foreign suppliers, including Dianabol, a Schedule III

controlled substance. (PSR ¶ 40.) In one intercepted call, the defendant expressed her agreement

that “we’re doing some illegal shit right here” and understanding that it was not possible to legally

acquire this drug in the United States for personal use. (Id.) The defendant added that a doctor

with whom she spoke was “not going to say anything,” had omitted her drug use from her file, and

advised her “you’re not going to get your [security] clearance if you keep taking that.” (Id.)

However, when interviewed by the Probation Office in this case, the “defendant disclaimed the

use of illicit substances.” (PSR ¶ 66.) While the offense for which she stands to be sentenced

marks the defendant’s first criminal conviction, her illicit drug activity, and her duplicity in

attempting to hide it, demonstrate that she was not leading an otherwise law-abiding life.

   D. The Need for General Deterrence and to Promote Respect for the Law

       Finally, a meaningful sentence is also necessary to adequately deter criminal conduct—in

this case, an egregious abuse of public trust with reverberating ramifications for ongoing law

enforcement investigations and interests worldwide—and to promote respect for the law

prohibiting such destructive conduct. See 18 U.S.C. § 3553(a)(2)(A)-(B). It is imperative to send

a resounding message to individuals with access to sensitive, protected information that with

access comes responsibility, and flagrant violations of the public trust will be met with real

consequences. (See Ex. A, at 5 (“Because of the seriousness of Defendant’s breach, and the far-

reaching consequences of her actions, FinCEN requests that the Court impose a significant

sentence of incarceration that will stress the seriousness of this offense, and deter Defendant and

others from engaging in similar criminal conduct in the future.”).)

       Moreover, the investigation here required the full panoply of investigative techniques and

countless hours of work by a joint investigative team from the FBI and OIG, precisely because the

                                                 28
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 31 of 33



defendant took steps to conceal her criminal conduct. When such a case is successfully prosecuted,

a substantial sentence is warranted. See, e.g., United States v. Heffernan, 43 F.3d 1144, 1149 (7th

Cir. 1994) (“Considerations of (general) deterrence argue for punishing more heavily those

offenses that either are lucrative or are difficult to detect and punish, since both attributes go to

increase the expected benefits of a crime and hence the punishment required to deter it.”); United

States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (“Because economic and fraud-based

crimes are more rational, cool, and calculated than sudden crimes of passion or opportunity, these

crimes are prime candidates for general deterrence.” (internal quotation marks omitted)).

       The defendant’s suggestion that she need not be sentenced to any prison time to achieve

robust general deterrence (see Def. Mem. 54) flies in the face of case law, logic, and human

experience. And to the extent that this suggestion is grounded on the assertion that the defendant

has suffered embarrassment or discomfort in light of case “publicity” (id. at 55), it should be

rejected out of hand. The approach for which the defendant advocates would lead to the perverse

result that sentences in those cases in which a defendant’s crime is particularly violative of the

public trust—and thus attracts public attention—would be the lowest. Moreover, in this case, the

defendant herself has encouraged media attention (albeit while pretending to be someone else).

She cannot reasonably do so and then argue that such attention warrants a lower sentence.

II.    The Defendant’s Arguments Are Unpersuasive

       In her submission, the defendant seeks a non-incarceratory sentence on three principal

grounds. None warrants what she seeks.

       First, the defendant asserts that she merely acted to serve the public. That is false, as

discussed at length above. Simply put, as evidenced by, among other things, the defendant’s

contemporaneous words, the story of this case is not of a government employee selflessly sharing

confidential information, at great personal cost, so that the information could be published for the

                                                 29
        Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 32 of 33



sake of “the country’s well-being” (Def. Mem. 53). It is far more disturbing, unjustified, and

dangerous. The defendant’s failure to show remorse, and attempts to mischaracterize her conduct

“as an act of conscience” (id. at 55), further militate in favor of a meaningful term of imprisonment.

       Second, the defendant asserts that she “has already been severely punished for this

offense.” (Id. at 56.) But publicity and resigning from one’s position after abusing that position

are not punishment—and to the extent they are, they are not sufficient in this extraordinary case.

       Finally, she refers, without elaboration, to certain medical conditions. (Id.) 7 While it is of

course appropriate for the Court to take such conditions into account, none here is unique, none

prevented the defendant, who is only forty-two years old, from committing her crime or engaging

in the post-plea conduct described above, and all can be treated appropriately, to extent treatment

is necessary, in prison. As the Court is aware, the Federal Bureau of Prisons is well-equipped to

handle all such conditions, including, if warranted, in a Federal Medical Center (although the

defendant’s conditions, some of which involve simply avoiding certain foods or being bitten by a

particular insect, are not of the type for which a medical center is necessary).




7       Although immaterial for present purposes, the document the defendant cites in support of
this point is unsigned, and the Government understands that it was written by the defendant, not
a doctor. (See Def. Ex. KKK, at 6 (referring to “my” conditions and what “I” have).)
                                                 30
         Case 1:19-cr-00064-GHW Document 82 Filed 10/26/20 Page 33 of 33




                                         CONCLUSION

         For the reasons set forth above, the Government respectfully requests that the Court

impose a meaningful term of imprisonment, at least as long as the top of the Guidelines range, a

sentence that is sufficient but not greater than necessary to serve the legitimate purposes of

sentencing.

Dated:          New York, New York
                October 26, 2020

                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney

                                       By:    s/ Kimberly J. Ravener/Daniel C. Richenthal
                                              Kimberly J. Ravener
                                              Daniel C. Richenthal
                                              Assistant United States Attorneys
                                              (212) 637-2358/2109




                                                 31
